Case 2:22-cv-00561-EP-ESK Document 6 Filed 06/13/22 Page 1 of 1 PageID: 329

                         UNITED STATES DISTRICT COURT
                          for the District of New Jersey [LIVE]
                                       Newark, NJ


J.S. and S.S. on behalf A.S.
                                               Plaintiff,
v.                                                          Case No.:
                                                            2:22−cv−00561−BRM−ESK

WEST MORRIS REGIONAL HIGH
SCHOOL DISTRICT BOARD OF
EDUCATION
                                               Defendant.




           Notice Of Call For Dismissal Pursuant to Local Civil Rule 41.1(a)

    Please take notice that the above−captioned action, having been pending for more than
90 days, without any proceeding having been taken therein, will be called at the Two
Federal Square, Room 367, Newark, NJ before Judge Brian R. Martinotti on 6/27/2022
09:00 AM or as soon thereafter as the same may be reached, and unless sufficient reason
to the contrary is shown, the case will be dismissed for lack of prosecution in accordance
with Local Civil Rule 41.1(a).
   NO APPEARANCE IS REQUIRED. Counsel of record or unrepresented parties may
show good cause by affidavit setting forth what good faith efforts to prosecute this action
have been made and what further efforts are intended. If said affidavit has not been filed
before the return date, counsel of record or unrepresented parties may be required to
appear before the Court, to show good cause why this action should not be dismissed for
lack of prosecution.


                                                Very truly yours,
                                                William T. Walsh, Clerk
                                                By Deputy Clerk, lr




If applicable, counsel of record is directed to serve this notice to their client, whose street
and post office address do not appear in the complaint as directed by Local Civil Rule 10.1,
and to provide proof of service to the Court.
